The facts are similar in this case to those stated in Wiberg
v. Barnum, ante, p. 323 [278 P. 871], except that on the back of one of the contracts here involved the following appears:
"We agree to resell lots 14 in Block 48,  lots 2/42, for Mrs. Heefner, and that she will not have to make 2nd payments (6 mos. from now) on same. Resales to be as early as possible."
[1] For the reasons stated in the decision of that case, this day filed, the judgment herein is reversed.
Works, P.J., and Thompson (Ira F.), J., concurred.
A petition for a rehearing of this cause was denied by the District Court of Appeal on July 5, 1929, and a petition by respondents to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on August 5, 1929.
All the Justices present concurred. *Page 795 